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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION

Angela Williams, Debra Ann Axsmith,           )
Tonia Babiak, Madgie Bearden, Barbara         )       C/A No. 3:20-cv-00865-MGL
Clements, Lawrence Gerard Colbert,            )
Stephen Cooper, Grant Culbertson, Bernice     )
P Daugherty, Rich Doehling, Gerry Durham,     )
Gale Bracey Erekson, Daniel Gaines, Kevin     )
Gainey, Ann D George, James Gould,            )       ORDER OF DISMISSAL
Denesse Hilton, Edward Johnson, John L.       )
Jones, Karen Jones, Furman Jones, James       )
Lauro, Vernoy McTeer, Randall Murphy,         )
William Parker, Fredrick J. Phillips, Frank   )
Pirone, Carroll Smith Brown, Alton Stone,     )
Frank Tamburello, Michael Teachout,           )
Teresa Von Besser, Angela Wagner,             )
Kenneth Watts, Ryan Wieckowski, and           )
David Winn,                                   )
                                              )
                       Plaintiffs,            )
                                              )
       vs.                                    )
                                              )
Ford Motor Company,                           )
                                              )
                       Defendant.             )
                                              )

                The Court having been advised by counsel for the parties that the above action has

been settled,

                IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within sixty (60) days, any party may petition the

Court to reopen this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In the

alternative, to the extent permitted by law, any party may within sixty (60) days petition the

Court to enforce the settlement. Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299

(4th Cir. 1978). By agreement of the parties, the court retains jurisdiction to enforce the

settlement agreement. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381-82 (1994).
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               The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

               IT IS SO ORDERED.

                                               s/Mary Geiger Lewis
                                               MARY GEIGER LEWIS
                                               UNITED STATES DISTRICT JUDGE
Columbia, South Carolina
May 27, 2020
